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» Case 8:07-cr-00169-JSM-TGW Document 79 Filed 02/18/21 Page 1 of 6 PagelD 921
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AO 245B ReiSeBpOsteer 1- Jufment in a Criminal Case
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cB) 8" UNITED STATES DISTRICT COURT

 

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o' gets MIDDLE DISTRICT OF FLORIDA
00 aN TAMPA DIVISION

UNITED STATES OF AMERICA AMENDED! JUDGMENT IN A CRIMINAL CASE
CASE NUMBER: 8:07-cr-169-T-30TGW
USM NUMBER: 49015-018

vs.

JIMMIE LEE DORSEY
Defendant's Attorney: Alec Hall, pda.

THE DEFENDANT:

X__ pleaded guilty to count(s) ONE and TWO of the Information.

___ pleaded nolo contendere to count(s) which was accepted by the court.
____ was found guilty on count(s) after a plea of not guilty.

 

 

TITLE & SECTION NATURE OF OFFENSE OFFENSE ENDED COUNT
21 U.S.C. § 841(a)(1) and —- Possession with Intent to Distribute Cocaine September 7, 2006 One
(b)(1)(B)Gi)

18 U.S.C. §§§ 922(g)(1) Felon in Possession of a Firearm September 7, 2006: c m3 Two

924(a)(2) and 924 (e)(1)

di

The defendant is sentenced as provided in pages 2 through 6 of this judgment:’ “The™-sentence is.

imposed pursuant to the Sentencing Reform Act of 1984. oy =
: iy
___ The defendant has been found not guilty on count(s) De a ig

___ Count(s) (is)(are) dismissed on the motion of the United States. mR
: Lom)

IT I§ FURTHER ORDERED that the defendant must notify the United States Attorney forthis district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special

assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material

change in economic circumstances.
Date of Imposition of Sentence: August 29, 2007

Mn £17) .

JAMES S. MOODY, JR.
UNITED STATES DISTRICT JUDGE

DATE: February 10, 2021

 

 

1 Amended only to reduce Defendant’s term of imprisonment. All other terms and conditions remain the same.
“ Case 8:07-cr-00169-JSM-TGW Document 79 Filed 02/18/21 Page 2 of 6 PagelD 922
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AO 245B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Criminal Case)

Defendant: JIMMIE LEE DORSEY Judgment - Page _ 2. of _6
Case No.: 8:07-cr-169-T-30TGW

IMPRISONMENT

After considering the advisory sentencing guidelines and all of the factors identified in Title 18
U.S.C. §§ 3553(a)(1)-(7), the court finds that the sentence imposed is sufficient, but not greater than
necessary, to comply with the statutory purposes of sentencing.

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of TIME SERVED as to each of Counts One and Two of the Information, all
such terms to run concurrently.

x The court makes the following recommendations to the Bureau of Prisons:
The defendant shall be placed at FCI Coleman (FL).
The defendant shall participate in the 500 hour intensive drug treatment program while incarcerated.

__X__ The defendant is remanded to the custody of the United States Marshal.
The defendant shall surrender to the United States Marshal for this district.

at a.m./p.m, on .
as notified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons.

_____ before 2 p.m. on
_____ as notified by the United States Marshal.
as notified by the Probation or Pretrial Services Office.

 

RETURN

I have, executed this Judemes as follows:

_kele toed from 6 uréeru ok Prep ns 7rd && Sentee. ow 2 /iof zi,

 

 

 

Defendant delivered on to
at

, with a certified copy of this judgment.

Wy thw Bl) Here k.
By: Pal eds Marshal

Deputy_United States Marshab
Cpa, | Seche n

 

 

 
» Case 8:07-cr-00169-JSM-TGW Document 79 Filed 02/18/21 Page 3 of 6 PagelD 923
Case 8:07-cr-00169-JSM-TGW Document 78 Filed 02/10/21 Page 3 of 6 PagelD 917

AO 245B (Rev, ar Sheet 3 - meer Release (Judgment in a Criminal Case)
efendant: Judgment - Page _ 3 or _ 6

Case No.: 8:07-cr-169-T-30TGW

 

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of
EIGHT (8) YEARS; EIGHT (8) YEARS as to Count One of the Information and FIVE (5) YEARS as to
Count Two of the Information, all such terms to run concurrently.

The defendant must report to the probation office in the district to which the defendant is released within
72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawfully
ossess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance.
he defendant shall submit to one drug test within 15 days of release from imprisonment and at least two

periodic drug tests thereafter, as determined by the court.

X__ The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.
X

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant
pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as
with any additional conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report
within the first five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of
the probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities,

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
schooling, training, or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or
employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute,
or administer any controlled substance or any paraphernalia related to any controlled substances, except
as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or

administered;
9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate
with any person convicted of a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at an, time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being’ arrested or questioned
by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit the
probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement.
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Case 8:07-cr-00169-JSM-TGW Document 78 Filed 02/10/21 Page 4 of 6 PagelD 918

AO 245B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case
efendant: udgment - Page
Case No.: 8:07-cr-169-T-30TGW
SPECIAL CONDITIONS OF SUPERVISION

   
 

 
     

The defendant shall also comply with the following additional conditions of supervised release:

X___ The defendant shall participate in a substance abuse program (outpatient and/or inpatient) and follow te

probation officer’s instructions regarding the implementation of this court directive. Further, the

defendant shall be required to contribute to the costs of services for such treatment not to exceed an

amount determined reasonable by the Probation Officer's Sliding Scale for Substance Abuse Treatment

Services. During and upon completion of this program, the defendant is directed to submit to random
rug testing.

X_ The defendant shall participate as directed in a program of mental health treatment (outpatient and/or

inpatient) and follow te probation officer’s instructions regarding the implementation of this court

directive. Further, the defendant shall be required to contribute to the costs of services for such

treatment not to exceed an amount determined reasonable to by Probation Officer based on ability to
ay or availability of third party payment and in conformance with the Probation Office's Sliding Scale
or Mental Health Treatment Services.

X__ The defendant shall cooperate in the collection of DNA as directed by the probation officer.

X__ The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The
Court authorizes random drug testing not to exceed’ 104 tests per year.
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AO 245B (Rev sire Sheet 5 - Criminal Monetary Penalties J udgment in a Criminal Case)
erendant: udgment - Page o

Case No.: 8:07-cr-169-T-30TGW
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Total Restitution
Totals: $200.00 Waived N/A
The determination of restitution is deferred until . An Amended Judgment in a Criminal Case
(AO 245C) will

be entered after such determination.

The defendant must make restitution (including community restitution) to the following payees in the
pmount listed
elow.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned
ayment, unless specified otherwise in the priority. order or percentage payment Column below,
owever, pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United

States.
Name of Payee Total Loss* Restitution Ordered Priority or
Percentage

Totals: $ $ __

Restitution amount ordered pursuant to plea agreement $

 

The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or

fine_is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C.

3612(6). All of the Payment options on Sheet 6 may be subject to penalties for delinquency an

default, pursuant to 18 U.S.C. § 3612(g).

The court determined that the defendant does not have the ability to pay interest and it is ordered that:
the interest requirement is waived forthe __— fine _____ restitution.

the interest requirement for the fine restitution is modified as follows:

* F indings for the total amount of losses are required under Chapters 109A,_110, LIOA, and 113A of Title 18
for the offenses committed on or after September 13, 1994, but before April 33, 1996.
+ Case 8:07-cr-00169-JSM-TGW Document 79 Filed 02/18/21 Page 6 of 6 PagelD 926
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AO 245B (Rev wiry Sheet 6 - Schedule of Payments (Judgment in a Criminal Case) :
efendant: Judgment - Page 6 of 6

Case No.: 8:07-cr-169-T-30TGW

 

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as
follows:

 

A. x Lump sum payment of $ _200.00___ due immediately, balance due
not later than , or
in accordance Cc, D, Eor F below; or
B. Payment to begin immediately (may be combined with ___C,__ D, or___ F below); or
C. Payment in equal (e.g., weekly, monthly, quarterly) installments of $
over a period of (e.g., months or years), to commence
days (e.g., 30 or 60 days) after the date of this judgment; or
D. Payment in equal (e.g., weekly, monthly, quarterly) installments of $
over a period of (e.g., months or years) to commence
(e.g. 30 or 60 days) after release from imprisonment to a term of

 

supervision; or

E. Payment during the term of supervised release will commence within
(c.8., 0 or 60 days)-after release from imprisonment. The court will set the
payment plan based on an assessment of the defendant's ability to pay at that time, or

F, Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during, imprisonment. All criminal monetary penalties, except those payments made
through ‘the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

Joint and Several

_ Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount,
Joint and Several Amount, and corresponding payee, if appropriate:

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):
_X___ The defendant shall forfeit the defendant's interest in the following property to the United States:

The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all
assets and property, or portions thereof, subject to forfeiture, which are in the possession or control of the
defendant or the defendant’s nominees. ° The preliminary order of forfeiture is made a final order of forfeiture

and makes it a part of this judgment.

Payments shall be applied in the following order: (1) assessment, ?) restitution Prneipal, (3) restitution
interest, (4) fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost

of prosecution and court costs.
